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                                                                                                     United States District Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                                 UNITED STATES DISTRICT COURT                                         December 06, 2019
                                  SOUTHERN DISTRICT OF TEXAS                                           David J. Bradley, Clerk
                                      MCALLEN DIVISION

ORLANDA DEL CARMEN PENA ARITA, §
et al,                           §
                                 §
       Plaintiffs,               §
VS.                              § CIVIL ACTION NO. 7:19-CV-288
                                 §
UNITED STATES OF AMERICA, et al, §
                                 §
       Defendants.               §

                                                     ORDER

        The Court now considers the “Joint Motion to Continue Initial [Pretrial and Scheduling]

Conference, Deadline to File the Parties’ Joint Discovery and Case Management Plan, and Time for

Defendant United States to Answer”1 filed by Orlanda del Carmen Peña Arita, individually; as next

friend of D.M.A. and C.M.A.; and as representative of the Estate of Marco Antonio Muñoz

(“Plaintiff”) and the United States of America (“United States”). Such constitutes the second motion

for continuance in this case.2 To warrant a second continuance, the parties must satisfy the good

cause standard.3

        By leave of the Court, Plaintiff filed a second amended complaint on October 10, 2019.4 In

the Court’s previous Order granting the first continuance of the initial pretrial and scheduling

conference, the Court noted the dates and status of any service of Plaintiff’s second amended

complaint on the named defendants was unclear.5 Since then, Plaintiff has filed proof of service for




1
  Dkt. No. 89.
2
  See Dkt. Nos. 62 & 77 (where the Court granted Plaintiff’s “Unopposed Motion to Continue Initial Status [Sic]
Conference,” which was unopposed by the United States).
3
  See Fed. R. Civ. P. 6(b).
4
  Dkt. No. 61.
5
  Dkt. No. 77 p. 2, n. 6–7.
1/3
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Crecencio Galvan;6 Hector Lopez III;7 Rene “Orta” Fuentes;8 “Unknown Starr County Deputies c/o

Rene “Orta” Fuentes;”9 (Dkt. No. 81, 11/6/19); “The County of Starr, Texas c/o Eloy Vera;”10 Alex

Garcia;11 Javier Vela;12 Clyde Guerra;13 Raul Garcia;14 Evalario Isaac Garza;15 and Sammy

Marroquin.16 For each of these defendants, the server served the summons on Armandina Martinez,

the Human Resources Director with the Starr County Sheriff’s Office, on November 6, 2019.17

Importantly, these defendants are not the only defendants named in this suit.18

        Yet, Plaintiff and the United States now state “Plaintiffs have [sic] successfully served their

Second Amended Complaint and summons on all parties named as defendants.”19 Moreover,

Plaintiff and the United States confusingly state “the deadline for the United States to answer is

December 16, 2019, and the deadline for all federal officers named in the suit to answer is January

13, 2020.”20 Plaintiff and the United States thus request the Court “extend Defendant United States

of America’s deadline to answer Plaintiff’s Second Amended Complaint to January 13, 2020,

consolidating all federal defendants’ time to answer on that date.”21 According to Plaintiff and the

United States, “the continuances have no effect on the deadline for the remaining individual federal

defendants to answer.”22




6
  Dkt. No. 78.
7
  Dkt. No. 79.
8
  Dkt. No. 80.
9
  Dkt. No. 81.
10
   Dkt. No. 82.
11
   Dkt. No. 83.
12
   Dkt. No. 84.
13
   Dkt. No. 85.
14
   Dkt. No. 86.
15
   Dkt. No. 87.
16
   Dkt. No. 88.
17
   Dkt. Nos. 78–88.
18
   See Dkt. No. 61 (Plaintiff’s Second Amended Complaint).
19
   Dkt. No. 89 p. 2, ¶ 3.
20
   Id. ¶ 5.
21
   Dkt. No. 89 p. 3, ¶ 17.
22
   Id. ¶ 14.
2/3
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           Plaintiff and the United States cite to no authority providing these answer deadlines. The

Court also questions the parties’ provided dates and focus on the answer deadlines of the United

States and “all federal officers,” considering Plaintiff’s November 6, 2019 service documentation,

several named state officer defendants, and Plaintiff and the United States’ instant representations

that “all” defendants have been served at the time of the instant motion, December 5, 2019. Plaintiff

and the United States do not even bother to identify “all federal officers.” The Court further has not

previously extended any answer deadlines. For these reasons, the Court finds the Plaintiff and the

United States have failed to provide good cause for such continuances. The Court thus DENIES the

motion on these grounds.

           To accommodate the proposed deadlines for the United States and “all federal officers” to

file an answer to Plaintiff’s second amended complaint, Plaintiff and the United States also request

the Court continue the December 6, 2019 deadline to file a joint discovery case management plan

and the December 17, 2019 initial pretrial and scheduling conference.23 Given the abovementioned

inconsistencies and issues, the Court finds it necessary to conference in person with Plaintiff and the

United States to discuss the status and anticipated progress of the case. Therefore, the Court

DENIES the motion. The December 6, 2019 joint discovery/case management plan deadline and

the December 17, 2019 initial pretrial and scheduling conference remain.24

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 6th day of December, 2019.


                                                      ___________________________________
                                                                 Micaela Alvarez
                                                            United States District Judge




23
     See Dkt. No. 77.
24
     Id.
3/3
